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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                             )
TIKTOK INC., et al.,                         )
                                             )
                              Plaintiffs,    )
                                             )
                      v.                     )    Civil Action No. 1:20-CV-2658-CJN
                                             )
DONALD J. TRUMP, in his official capacity as )
President of the United States, et al.,      )
                                             )
                              Defendants.    )
__________________________________________)

                               NOTICE OF APPEARANCE

       Please take notice that the undersigned attorney, Daniel Schwei, of the United States

Department of Justice, Civil Division, Federal Programs Branch, enters his appearance in the

above-captioned case on behalf of Defendant.


Dated: September 23, 2020                  Respectfully submitted,

                                           JEFFREY BOSSERT CLARK
                                           Acting Assistant Attorney General

                                           AUGUST FLENTJE
                                           Special Counsel to the Acting
                                           Assistant Attorney General

                                           ALEXANDER K. HAAS
                                           Branch Director

                                           DIANE KELLEHER
                                           Assistant Branch Director

                                           /s/ Daniel Schwei
                                           DANIEL SCHWEI
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